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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                               )
DOMINGO ARREGUIN GOMEZ, et al.,                )
                                               )
             Plaintiffs,                       )
                                               )
      v.                                       )
                                               )   Civil Action No. 20-1419 (APM)
DONALD J. TRUMP, President of the United       )
States of America, et al.,                     )
                                               )
             Defendants.                       )
                                               )
                                               )

                                               )
MOHAMMED ABDULAZIZ ABDULBAGI                   )
MOHAMMED, et al.,                              )
                                               )
             Plaintiffs,                       )
                                               )
      v.                                       )   Civil Action No. 20-1856 (APM)
                                               )
MICHAEL R. POMPEO, Secretary,                  )
U.S. Department of State, et al.,              )
                                               )
             Defendants.                       )
                                               )

                                               )
CLAUDINE NGUM FONJONG, et al.,                 )
                                               )
             Plaintiffs,                       )
                                               )
      v.                                       )
                                                   Civil Action No. 20-2128 (APM)
                                               )
DONALD J. TRUMP, President of the United       )
States of America, et al.,                     )
                                               )
             Defendants.                       )
                                               )


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                                                   )
 AFSIN AKER, et al.,                               )
                                                   )
                Plaintiffs,                        )
                                                   )
        v.                                         )      Civil Action No. 20-1926 (APM)
                                                   )
 DONALD J. TRUMP, President of the United          )
 States of America, et al.,                        )
                                                   )
                Defendants.                        )
                                                   )

                                                   )
 MORAA ASNATH KENNEDY, et al.,                     )
                                                   )
                Plaintiffs,                        )
                                                   )
        v.                                         )
                                                          Civil Action No. 20-2639 (APM)
                                                   )
 DONALD J. TRUMP, President of the United          )
 States of America, et al.,                        )
                                                   )
                Defendants.                        )
                                                   )


                              DEFENDANTS’ STATUS REPORT

       Pursuant to the Court’s Order of October 13, 2021, Defendants respectfully submit the

following status report concerning their progress in processing the 9,095 Fiscal Year (“FY”) 2020

Diversity Visas (“DV-2020”) that the Court ordered Defendants to issue. See ECF No. 244 at 3.

       On August 17, 2021, the Court ordered Defendants to process the 9,095 DV-2020 visas

that the Court had previously directed Defendants to reserve for Gomez class members. See ECF

No. 237 at 48-53. On October 13, 2021, the Court ordered Defendants “to commence processing

the 9,095 DV-2020 visas as soon as is feasible and to conclude such processing no later than the

end of the 2022 Fiscal Year, or September 30, 2022.” ECF No. 244 at 3. The Court also ordered

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“Defendants to file periodic reports indicating how many reserved DV-2020 visas [they have]

adjudicated,” id. at 4, and directed Defendants to “file the first such report by January 11, 2022,

and file additional reports every 60 days thereafter until adjudication of the reserved visas has

concluded.” Id. at 4-5.

       On December 10, 2021, Defendants noted an appeal from this Court’s Order of October

13, 2021. ECF No. 248.

       Notwithstanding Defendants’ Notice of Appeal, id., the U.S. Department of State (“DOS”)

has undertaken arduous steps to effectuate information technology system changes necessary to

comply with the Court’s Order of October 13, 2021. See Declaration of Andrea Whiting (Jan. 11,

2022) (“Whiting Decl.”) (attached as Ex. A). Consistent with the Declaration of Gulcin Halici, see

ECF No. 241-2 ¶ 2, which Defendants previously filed in support of Defendants’ portion of the

Joint Status Report on August 26, 2021, see ECF No. 240 at 4, DOS has undertaken the burden of

creating, for the first time, the information systems infrastructure to process diversity visa (“DV”)

applications after the conclusion of a particular FY. Specifically, the Office of Field Operations of

the Visa Office (“VO”) Managing Director submitted a Level of Effort (“LOE”) analysis request

to Consular Systems and Technology (“CST”) and, on November 4, 2021, the VO Managing

Director submitted a request to CST to make necessary changes to DOS’s information technology

systems to allow it to comply with the Court’s orders. See Whiting Decl. ¶¶ 5–6. On December

9, 2021, CST provided VO with the LOE analysis, which is a working-level assessment of the

effort and agency resources required to accommodate the project including associated costs. Id. ¶

7. The LOE analysis details the system modifications necessary to process and adjudicate DV

applications   from FY2020 and FY2021 without adversely affecting the processing and


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adjudication of FY2022 DV applications. Id. These modifications must be implemented on several

different systems used in DV processing, each with different functionality. See id. Per the LOE

analysis, it will take at least four months and cost approximately $500,000 to make the necessary

system changes. Id.¶ 8. As a result, VO estimates that the earliest it could process FY2020 and

FY2021 DV cases would be April 2022. 1 Id.

       Additionally, to process as many FY2022 DV applications as possible during the four-

month period that the DV processing systems are being modified, VO has launched a pilot program

whereby the Kentucky Consular Center—which normally does the initial intake and document

review of DV applications and supporting documentation—will no longer conduct in-depth

document review, other than confirming the receipt of the DS-260, the basic immigrant visa

application   form.   See id. ¶ 10;       State Department, Diversity        Visa   2022    Update,

https://travel.state.gov/content/travel/en/News/visas-news/diversity-visa-2022-update.html     (last

accessed Jan. 11, 2022). This pilot program will allow more DV cases to be more quickly scheduled

for interviews and transferred to overseas consular sections for processing. See Whiting Decl. ¶ 10.

By frontloading the processing of FY2022 DV cases earlier in the year, DOS is attempting to create

more capacity for the FY2020 and FY2021 DV adjudications later on in FY 2022, once the systems

modifications have been finalized. See id. However, whether this pilot program is successful in

creating this additional capacity will depend in part upon whether FY2022 DV selectees submit all

required documents to consular sections to avoid delays in processing. See id.



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         The Department included FY2021 in its LOE request since this Court in Goh v. Biden and
another court in this district in Rai v. Biden similarly ordered the processing and adjudication of
FY2021 DV applications by the end of FY2022. See Goh, et al. v. Biden, et al., No. 21-cv-999
(APM), ECF Nos. 44 and 45 (D.D.C.); Rai, et al. v. Biden, et al., No. 21-cv-863 (TSC), ECF Nos.
53, 54, 61, and 62 (D.D.C.).
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       Pursuant to this Court’s Order of October 13, 2021, ECF No. 244 at 4-5, Defendants will

file their next status report by March 14, 2022. See Fed. R. Civ. P. 6(a)(1)(C).

 Date: January 11, 2022                              Respectfully submitted,


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                              CERTIFICATE OF SERVICE

       I hereby certify that on January 11, 2022, I electronically filed the foregoing document

with the Clerk of the United States District Court for the District of Columbia by using the

CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.



                                                  /s/ Eric C. Steinhart
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